     Case 2:17-cr-00180-JAD-NJK         Document 264       Filed 01/25/18     Page 1 of 5



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   maf@fletcherfirmlaw.com
 5 Attorney for Defendant,
   Kaleb Louis
 6
                                UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
 8
   UNITED STATES OF AMERICA,                         CASE NO.: 2:17-cr-00180
 9 Plaintiff,
                                                     FIRST STIPULATION TO CONTINUE TIME
10 vs.                                               FOR PRE-TRIAL MOTIONS
11 CHANNING WILLIAMS, et. al.
            Defendants.
12

13              STIPULATION TO CONTINUE TIME FOR PRE-TRIAL MOTIONS
14
            IT IS HEREBY STIPULATED AND AGREED by and between Frank Coumou, Assistant
15
     United States Attorney, counsel for the United States of America, Maysoun Fletcher, Esq., counsel
16
     for defendant KALEB LOUIS, Russell Marsh, Esq., counsel for defendant TREVAUGHN JAMES,
17

18 Kathleen Bliss, counsel for defendant CASEY WALTERS, JR., Paola Armeni, counsel for

19 defendant DENZEL CAMPBELL, Chris Rasmussen, counsel for defendant MAURICE LEWIS,

20 Lucas Gaffney, counsel for DEMANI DANCY, Terrence Jackson, counsel for KEENAN ST.

21 HILLAIRE, Joshua Tomsheck, counsel for KORREGAN WASHINGTON, Christopher Oram,

22
     counsel for EVERLY JAMES, Lance Maningo, counsel for defendant, DANIEL WILSON, Gabriel
23
     L. Grasso, counsel for defendant CHANNING WILLIAMS, Telia Williams, counsel for CODY
24
     WILLIAMS-JACKSON, David Fischer, counsel for DOMINIQUE WASHINGTON, and Jess
25

26 Marchese, counsel for KEITH BELL, Michael Miceli, counsel for TREVIONNE WILLIAMS that
27 the Pre-Trial Motions Deadline be vacated and reset thirty (30) days.

28
     Case 2:17-cr-00180-JAD-NJK           Document 264         Filed 01/25/18        Page 2 of 5



 1          This Stipulation is entered into for the following reasons:

 2          1.      This is the first request for a continuance.
 3
            2.      The defendants do not object to the continuance.
 4
            3.      Defendants are utilizing the services of Behind the Gavel which has received the
 5
                    discovery and begun the implementation of the discovery database, however, it is
 6
                    not functional at this time. Defendants and their counsel need additional time to be
 7

 8                  able to access and review the database and be ready for trial.

 9          4.      Several of the parties are involved in plea negotiations and additional time will be
10                  needed to be ready for trial.
11          5.      Denial of this request for continuance could result in a miscarriage justice.
12          6.      The additional time requested by this stipulation is excludable in computing the time
13
     within which trial herein must commence pursuant to the Speedy Trial Act, Title 18, United States
14
     Code, Section 3161 (h)(1)(D) and Title 18, United States Code Section 3161 (h)(7)(A) considering
15
     the factors in Title 18, United States Code, Sections 3161 (h)(7)(B)(I) and 3161 (h)(7)(B)(iv).
16

17          7.      For all the above-stated reasons, the ends of justice would best be served by a

18 continuance of the current pre-trial motions deadline for thirty (30) days.

19          DATED: January 23, 2018.
20

21   /s/ Cristina Silva                             /s/ Maysoun Fletcher______
   CRISTINA SILVA, ESQ.                             MAYSOUN FLETCHER, ESQ.
22 Assistant United States Attorney                 Attorney for Defendant, Kaleb Louis

23  /s/Russell Marsh                                 /s/ Kathleen Bliss
   RUSSELL MARSH, ESQ.                              KATHLEEN BLISS, ESQ.
24 Attorney for Defendant, Trevaughn James          Attorney for Defendant, Casey Walters, Jr.
25
    /s/Paola Armeni                                  /s/ Chris Rasmussen
26 PAOLA   ARMENI, ESQ.                             CHRIS RASMUSSEN, ESQ.
   Attorney for Defendant, Denzel Campbell          Attorney for Defendant, Maurice Lewis
27

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                                                        2
     Case 2:17-cr-00180-JAD-NJK      Document 264         Filed 01/25/18     Page 3 of 5



 1   /s/ Lucas Gaffney                       /s/ Terrence Jackson
   LUCAS GAFFNEY, ESQ.                      TERRENCE JACKSON, ESQ.
 2 Attorney for Defendant, Damani Dancy     Attorney for Defendant, Keenan St. Hillaire
 3
    /s/ Joshua Tomsheck                                 /s/ Christopher Oram
 4 JOSHUA TOMSHECK, ESQ.                               CHRISTOPHER ORAM, ESQ.
   Attorney for Defendant, Korregan Washington         Attorney for Defendant, Everly James
 5
      /s/ Lance Maningo                                 /s/ Gabriel Grasso
 6 LANCE MANINGO, ESQ.                                 GABRIEL L. GRASSO, ESQ.
   Attorney for Defendant, Daniel Wilson               Attorney for Defendant, Channing Williams
 7

 8 /s/ Telia Williams                                   /s/ Jess Marchese
   TELIA WILLIAMS, ESQ.                                JESS MARCHESE, ESQ.
 9 Attorney for Defendant, Cody Williams-Jackson       Attorney for Defendant, Keith Bell
10  /s/ David Fischer
   DAVID FISCHER, ESQ.
11
   Attorney for Defendant, Dominique Washington
12
    /s/ Michael Miceli
13 MICHAEL MICELI, ESQ.
   Attorney for Defendant, Trevionne Williams
14

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     Case 2:17-cr-00180-JAD-NJK            Document 264          Filed 01/25/18    Page 4 of 5



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 5 Attorney for Defendant,
   KALEB LOUIS
 6
                                   UNITED STATES DISTRICT COURT
 7
                                           DISTRICT OF NEVADA
 8
   UNITED STATES OF AMERICA,                                CASE NO.: 2:17-cr-00180
 9 Plaintiff,

10 vs.

11 CHANNING WILLIAMS, et. al.
            Defendants.
12

13                                           FINDINGS OF FACT
14
             Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court
15 finds:

16           This Stipulation is entered into for the following reasons:
17 1.        This is the first request for a continuance.
18
     2.      The defendants do not object to this continuance.
19
     3.      Defendants are utilizing the services of Behind the Gavel which has received the discovery
20
     and begun the implementation of the discovery database, however, it is not functional at this time.
21

22 Defendants and their counsel need additional time to be able to access and review the database and

23 be ready for trial.

24 4.        Several of the parties are involved in plea negotiations and additional time will be needed to
25
     be ready for trial.
26
     5.      Denial of this request for continuance could result in a miscarriage justice.
27

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                                                            4
     Case 2:17-cr-00180-JAD-NJK           Document 264        Filed 01/25/18      Page 5 of 5



 1 6.       The additional time requested by this stipulation is excludable in computing the time within

 2 which trial herein must commence pursuant to the Speedy Trial Act, Title 18, United States Code,

 3
     Section 3161 (h)(1)(D) and Title 18, United States Code Section 3161 (h)(7)(A) considering the
 4
     factors in Title 18, United States Code, Sections 3161 (h)(7)(B)(I) and 3161 (h)(7)(B)(iv).
 5
     7.     For all the above-stated reasons, the ends of justice would best be served by a
 6
     continuance of the current pre-trial motions deadline.
 7

 8                                       CONCLUSIONS OF LAW

 9
            Denial of this request for continuance would deny the parties herein the opportunity to
10
     effectively and thoroughly prepare for trial.
11

12          Additionally, denial of this request for continuance could result in a miscarriage of justice.

13                                                   ORDER
14          IT IS HEREBY FURTHER ORDERED that the pre-trial motions deadline is extended to
15 _______________________________.
   February 26, 2018.
16
            IT IS SO ORDERED.
17
            DATED
            DATED this
                   this______ dayofofJanuary,
                        25th day      ____________,
                                              2018. 2018.
18

19                                                                        __________________
                                                                          U.S. DISTRICT JUDGE
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